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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                      )       CHAPTER 13
                                            )       CASE NO. 18-60165-jrs
KARLEY ANN NGUYEN                           )
aka KARLEY KIMMEL NGUYEN                    )
                                            )
                       Debtor.              )

               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE


       COMES NOW, ALBERTELLI LAW, attorneys for AmeriHome Mortgage Company,
LLC, hereby enters it Notice of Appearance in the above-styled action. In accordance with Rule
2002 of the Bankruptcy Rules and Section 1109(b) of the Bankruptcy Code, the undersigned
hereby request notice in regard to the following property:

        Property Address: 4435 Settles Bridge Road, Suwanee, Georgia 30024

        Last Four Digits of Loan Number: 6466

         The undersigned respectfully requests the following to be added to the Court’s Mailing

Matrix in according to Rule 2002(g).




                                                  /s/ Cory P. Sims       _______________
                                                  Cory P. Sims, Esquire
                                                  Georgia Bar No. 701802
                                                  JAMES E. ALBERTELLI, P.A.
                                                  D/B/A ALBERTELLI & WHITWORTH, P.A.
                                                  100 Galleria Parkway, Suite 960
                                                  Atlanta, Georgia 30339
                                                  Telephone: (813) 221-4743 ext. 1947
                                                  Facsimile: (813) 221-9171
                                                  Email: csims@alaw.net
                                                  Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 15th day of August, 2018, I served a copy of the

foregoing Notice of Appearance and Request for Service via Regular U.S. Mail and/or Electronic

Mail to the parties listed on the attached service list.

SERVICE LIST

Karley Ann Nguyen
4435 Settles Bridge Rd
Suwanee, GA 30024

Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Nancy J. Whaley
Nancy J. Whaley, Standing Ch. 13 Trustee
303 Peachtree Center Avenue
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303




                                                       /s/ Cory P. Sims       _______________
                                                       Cory P. Sims, Esquire
                                                       Georgia Bar No. 701802
                                                       JAMES E. ALBERTELLI, P.A.
                                                       D/B/A ALBERTELLI & WHITWORTH, P.A.
                                                       100 Galleria Parkway, Suite 960
                                                       Atlanta, Georgia 30339
                                                       Telephone: (813) 221-4743 ext. 1947
                                                       Facsimile: (813) 221-9171
                                                       Email: csims@alaw.net
                                                       Attorney for Plaintiff




ALAW FILE NO. 18-021064
